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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                :
                                        :            Case No. 21-CR-129 (ABJ)
             v.                         :
                                        :
GABRIEL AUGUSTIN GARCIA,                :
also known as “Gabriel Agustin Garcia,” :
                                        :
                   Defendant.           :

                  GOVERNMENT’S NOTICE OF FILING OF EXHIBITS
                     PURUSANT TO LOCAL CRIMINAL RULE 49

       The United States of America, through the undersigned, hereby gives this notice pursuant

to Local Criminal Rule 49, of the following exhibit that was provided to the Court via USAfx and

played in its entirety in open Court during the stipulated bench trial on November 20, 2023:

        Government Exhibit 1 is a video taken by Gabriel Garcia on January 6, 2021. It is

           approximately 5 minutes and 31 seconds in length.

Because Government Exhibit 1 is a video clip, it is not in a format that readily permits electronic

filing on CM/ECF. The United States takes the position that Government Exhibit 1 should be

promptly released to the public.

                                             Respectfully submitted,

                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             D.C. Bar Number 481052

                                      By:    /s/ Jason McCullough
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                            /s/ Ashley Akers
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